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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                  v.                                )    No. 04 CR 253-03
                                                    )
RUBEN BEW,                                          )    Honorable David H. Coar
                                                    )
                          Defendant.                )
                                                    )



                       MEMORANDUM OPINION AND ORDER

       Before this Court is a motion to reduce a sentence filed by Ruben Bew (“Bew”)

pursuant to 18 U.S.C. § 3582(c)(2)(2000). For the reasons set forth below, this motion is

DENIED.


                                       BACKGROUND


       On October 18, 2005, Bew pled guilty to Count One of the second superseding

indictment. Pursuant to a written plea agreement, Bew admitted that he conspired with

others to distribute and possess with the intent to distribute in excess of 500 grams of

cocaine, in violation of Title 21, United States Code Section 846.


       Bew’s sentencing hearing was held on November 8, 2006. After finding Bew

accountable for approximately 2.5 to 3 kilograms of powder cocaine, this Court set his

base offense level at Level 28. The Court applied a two level enhancement for

obstruction of justice and a three level reduction for timely acceptance of responsibility.

Bew’s total adjusted offense level came to Level 27. The Court declined to treat Bew as


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a career offender, although he qualified for the status, and placed Bew in criminal history

category VI. This resulted in a sentencing range of 130 to 162 months’ imprisonment.

The Court sentenced defendant to 130 months’ imprisonment.


                                  LEGAL STANDARD


       Once a defendant’s sentence has been imposed, a court has limited authority to

change it after the expiration of the limits set forth in Fed. R. Crim. P. 35. See United

States v. Zingsheim, 384 F.3d 867, 871 (7th Cir. 2004). Section 3582(c)(2) permits the

Court to reduce a previously imposed sentence only when the defendant "has been

sentenced to a term of imprisonment based on a sentencing range that has subsequently

been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o)." Eligibility

for a reduction under § 3582(c)(2) is triggered only by amendments designated for

retroactive application in U.S.S.G. § 1B1.10(c). U.S.S.G. § 1B1.10 cmt. n. 1. In

November 2007, the Sentencing Commission passed Amendment 706, which generally

reduced by two levels the offense levels applicable to crack cocaine offenses. Effective

March 3, 2008, Amendment 706 (as amended by Amendment 711) was added to the list

of retroactively applicable amendments in § 1B1.10(c).


                                        ANALYSIS


       Bew moves to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) and

Amendment 706, as modified by Amendment 711, under U.S.S.G § 1B1.10.

Amendments 706 and 711 are inapplicable to Bew because his sentence was calculated

based on powder cocaine, not crack cocaine.




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        Although Bew was charged in the second superseding indictment with conspiracy

to possess with intent to distribute crack cocaine and cocaine, he only pled guilty to

conspiring to possess with intent to distribute at least 3.5 kilograms, but no more than 5

kilograms, of powder cocaine. See Bew Plea Agreement ¶ 5, 7(a). The Presentence

Investigation Report (“PSR”), however, estimated that Bew was accountable for 2.5 to 3

kilograms of powder cocaine. (PSR 9:299-10:326.) At Bew’s sentencing hearing, the

Government conceded that factual basis of the plea agreement supported the probation

officer’s estimate, and the Court sentenced Bew accordingly. (April 26, 2006 Tr. 3:20-

4:4.)


        The base offense level for an offense involving 2.5 to 3 kilograms of cocaine is

level 28. This was adjusted to level 27 after the Court applied an obstruction of justice

enhancement and an acceptance of responsibility reduction. Under the 2006 Guidelines,

the sentencing range for a level of 27 offense at a criminal history category of VI is 130-

162 months. Bew ultimately received 130 months.


        Amendments 706 and 711 lower by two points the base offense levels associated

with various amounts of crack cocaine. This Court’s determination of Petitioner’s

sentence was calculated on facts involving approximately 2.5 to 3 kilograms of powder

cocaine. As such, Bew was not “sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing Commission

pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). The Court must deny Bew’s

motion because a reduction would not be “consistent with applicable policy statements

issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2).




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                                 CONCLUSION


      For the foregoing reasons, Bew’s motion to reduce his sentence is DENIED.




                                         Enter:
                                         /s/ David H. Coar
                                         ________________________
                                         David H. Coar
                                         United States District Judge


Dated: June 28, 2010




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